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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

JEFFREY LULL,                                  )
                                               )
                        Plaintiff,             )
                                               )
       vs.                                     )       CAUSE NO. 1:20-cv-1261
                                               )
GREENVILLE TECHNOLOGY, INC.,                   )
                                               )
                        Defendant.             )


                                 COMPLAINT FOR DAMAGES

       Plaintiff, Jeffrey Lull, for his Complaint against Defendant, Greenville Technology, states

the following:

                                              I. Parties

       1.        Plaintiff is a resident of Madison County, Indiana.

       2.        Defendant is a business located in Madison County, Indiana.

                                        II. Jurisdiction and Venue

       3.        This court has jurisdiction to hear this claim pursuant to 28 U.S.C. §1331, in that

the claims arise under the laws of the United States. Specifically, Plaintiff brings this action to

enforce his rights under the FLSA.

       4.        This court has jurisdiction to hear these state claims pursuant to the court’s

supplemental jurisdiction under 28 U.S.C. §1367.

       5.        Venue in the Southern District of Indiana, Indianapolis Division, is appropriate by

virtue Defendant doing business in this District.




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                                    III. Factual Allegations

       6.      Plaintiff began working for Defendant on March 26, 2018.

       7.      Plaintiff was an hourly employee of Defendant.

       8.      The final hourly rate Defendant paid Plaintiff $19.79 per hour.

       9.      Defendant paid Plaintiff on a bi-weekly basis.

       10.     Plaintiff worked for Defendant as a Quality Tech.

       11.     Plaintiff worked regular hours for which he was not paid.

       12.     Plaintiff worked overtime hours for which he was not paid.

       13.     Plaintiff complained to management about not being paid for all of the time that he

worked which included overtime hours.

       14.     Defendant terminated Plaintiff’s employment.

       15.     Defendant terminated Plaintiff on January 29, 2020.

       16.     Defendant terminated Plaintiff in retaliation for complaining about the non-

payment of time worked including overtime hours.

       17.     Counsel for Plaintiff has requested that the Indiana Department of Labor in

conjunction with the Indiana Attorney General’s Office refer the wage claim of Plaintiff to counsel

for Plaintiff for prosecution.

                                     III.   Cause of Action

                                         Count I
                                    Failure to Wages
               Pursuant to the Wage Claims Statute, Ind. Code §22-2-5 et. seq.

       18.     Plaintiff incorporates paragraphs 1 through 17 by reference herein.

       19.     Plaintiff was an employee of Defendant pursuant to the Wage Claims Statute.

       20.     Plaintiff worked regular hours for Defendant that Defendant has not paid Plaintiff.




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       21.     Defendant did not have a good faith reason for failing to pay Plaintiff all of his

regular hours worked.

       22.     Defendant failed to pay Plaintiff his wages in the correct amount.

       23.     Defendant failed to pay Plaintiff his wages in a timely fashion.

       24.     Plaintiff has been damaged by Defendant’s violations of the Wage Payment Statute.

       WHEREFORE, Plaintiff prays that the Court enter a Judgment in favor of Plaintiff and

against Defendant in an amount to compensate Plaintiff, liquidated damages, prejudgment interest,

attorney fees, costs of this action, and for all other relief which is just and proper in the premises.

                                                       Respectfully submitted,

                                                       WELDY LAW

                                                       /s/Ronald E. Weldy
                                                       Ronald E. Weldy, #22571-49


                                            Count II
                                Failure to Pay Overtime Wages
                          Pursuant to the FLSA, 29 U.S.C. §201 et. seq.

       25.     Plaintiff incorporates paragraphs 1 through 24 by reference herein.

       26.     Plaintiff was an employee of Defendant pursuant to the FLSA.

       27.     Plaintiff’s work for Defendant involved interstate commerce.

       28.     Defendant is an employer pursuant to the FLSA.

       29.     Defendant had gross revenues of at least $500,000.00 for the 2017 calendar year.

       30.     Defendant had gross revenues of at least $500,000.00 for the 2018 calendar year.

       31.     Defendant willfully failed to properly pay all overtime hours worked by Plaintiff.

       32.     Defendant willfully failed to property pay all overtime wages earned by Plaintiff.

       33.     Defendant’s violations of the FLSA have damaged Plaintiff.




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       WHEREFORE, Plaintiff prays that the Court enter a Judgment in favor of Plaintiff and

against Defendant in an amount to compensate Plaintiff, liquidated damages, prejudgment interest,

attorney fees, costs of this action, and for all other relief which is just and proper in the premises.

                                                       Respectfully submitted,

                                                       WELDY LAW

                                                       /s/Ronald E. Weldy
                                                       Ronald E. Weldy, #22571-49


                                            Count III
                              Retaliation - Wrongful Termination
                          Pursuant to the FLSA, 29 U.S.C. §201 et. seq.

       34.     Plaintiff incorporates paragraphs 1 through 33 by reference herein.

       35.     Plaintiff complained to management about working time for which he was not paid

including overtime hours.

       36.     Defendant fired Plaintiff for complaining about not being paid all of his time

worked including overtime hours.

       37.     Defendant’s termination of Plaintiff violates the FLSA.

       WHEREFORE, Plaintiff prays that the Court enter a Judgment in favor of Plaintiff and

against Defendant in an amount to compensate Plaintiff, liquidated damages, special and punitive

damages, prejudgment interest, attorney fees, costs of this action, and for all other relief which is

just and proper in the premises.

                                                       Respectfully submitted,

                                                       WELDY LAW

                                                       /s/Ronald E. Weldy
                                                       Ronald E. Weldy, #22571-49




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                                    IV.     Jury Demand

      38.    Plaintiff incorporates paragraphs 1 through 37 by reference herein.

      39.    Plaintiff demands a trial by jury.

                                                   Respectfully submitted,

                                                   WELDY LAW

                                                   /s/Ronald E. Weldy
                                                   Ronald E. Weldy, #22571-49
                                                   Counsel for Plaintiff,
                                                   Jeffrey Lull

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